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 5
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 7
 8
                               UNITED STATES DISTRICT COURT
 9
                   SOUTHERN DISTRICT OF CALIFORNIA
10
     KAREL SPIKES,                      Case No.: '18CV2563 GPC KSC
11
                  Plaintiff,
12                                                     CIVIL COMPLAINT
     vs.
13
   J. K. MCCORMACK, aka JAMES KENYON DEMAND FOR JURY TRIAL
14 MCCORMACK, aka KEN MCCORMACK
   and PATRICIA A. MCCORMACK, Trustees
15 of the J. K. and P. A. MCCORMACK
   FAMILY TRUST; and DOES 1 through 10,
16 Inclusive,
17                Defendants.

18
19
20
           Plaintiff, KAREL SPIKES (hereinafter referred to as "Plaintiff"), files his cause

21
     of action against Defendants J. K.       MCCORMACK, aka JAMES KENYON

22
     MCCORMACK, aka KEN MCCORMACK and PATRICIA A. MCCORMACK,

23
     Trustees of the J. K. and P. A. MCCORMACK FAMILY TRUST (“MCCORMACK

24
     TRUST”); and DOES 1 through 10, Inclusive, and would show unto the Court the

25
     following:

26
                                               I.

27
                                 JURISDICTION AND VENUE

28
           1.     Plaintiff brings this action on behalf of himself as a person with a
     disability and as a private attorney general under California law to enforce important
                                                                             Civil Complaint
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 1   rights of all similarly situated disabled persons. At all times stated herein, KAREL
 2   SPIKES acted as a private attorney general by and through his attorneys to enforce
 3   the Code of Federal Regulations and California law to ensure accessibility not only
 4   for himself, but for other persons with disabilities.
 5                                               I.
 6                             JURISDICTION AND VENUE
 7          1.    This Court has original jurisdiction of this civil action pursuant to 28
 8   USC Section 1331, 28 USC Sections 1343(a)(3) and 1343(a)(4) for claims arising
 9   under the Americans with Disabilities Act of 1990, 42 USC Sections 12101, et seq.
10   and the Court's supplemental jurisdiction, 28 USC Section 1367.
11          2.    Venue in this Court is proper pursuant to 28 USC Sections 1391(b) and
12   (c).
13          3.    Pursuant to 28 USC Section 1367(a), Plaintiff shall assert all causes of
14   action based on state law, as plead in this complaint, under the supplemental
15   jurisdiction of the federal court. All the causes of action based on federal law and
16   those based on state law, as herein stated, arose from a common nuclei of operative
17   facts. That is, Plaintiff was denied equal access to Defendants' facilities, goods,
18   and/or services in violation of both federal and state laws and/or was injured due to
19   violations of federal and state access laws. The state actions of Plaintiff are so related
20   to the federal actions that they form part of the same case or controversy. The actions
21   would ordinarily be expected to be tried in one judicial proceeding. Plaintiff also
22   brings this action as a private attorney general under California law to enforce
23   important rights of all similarly situated disabled persons. At all times stated herein,
24   KAREL SPIKES acted as a private attorney general by and through his attorneys to
25   enforce the Code of Federal Regulations and California law to ensure the public
26   accommodation and appurtenances are accessible not only for himself, but for other
27   persons with disabilities.
28


                                                                               Civil Complaint
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 1                                              II.
 2                                      THE PARTIES
 3         4.     Defendants are, and at all times mentioned herein were, individuals,
 4   businesses or corporations, partnerships, or franchises organized and existing and/or
 5   doing business under the laws of the State of California. Defendants MCCORMACK
 6   TRUST are lessors and/or lessees of real property and as such lease, lease to, own
 7   and/or operate an auction referral business (Western States Auction Association) and
 8   a marijuana dispensary and retail store (“The Dispensary”) located at 741-743 El
 9   Cajon Blvd., El Cajon, California, 92020 (hereinafter "the SUBJECT PROPERTY").
10   Plaintiff is informed and believes and thereon alleges that Defendants, are and at all
11   times mentioned herein were, the owners, lessors or lessees of the subject property
12   and/or the owners and/or operators of the subject real property and/or facility
13   operating as a marijuana dispensary located at the subject property. The Dispensary
14   is a business entity whose form is unknown which offers marijuana products and
15   other retail products including, but not limited to, pipes, rollers, containers, cleaners,
16   batteries, and trays for sale to the public and is a place of public accommodation.
17         5.     Plaintiff is informed and believes and thereon alleges that defendant
18   MCCORMACK TRUST is a fee owner of the real property and the facility which is
19   the subject of this action. The Dispensary is operated by and/or under the control of,
20   and/or operated with the cooperation of MCCORMACK TRUST.
21         6.     Defendants DOES 1 through 10 were at all times relevant herein,
22   property owners, subsidiaries, successors, heirs, parent companies, employers,
23   employees, agents, corporate officers, managers, principals and/or representatives of
24   MCCORMACK TRUST. Plaintiff is ignorant of the true names and capacities of
25   Defendants sued herein as DOES 1 through 10, inclusive, and therefore sues these
26   Defendants by such fictitious names. Plaintiff will pray leave of the court to amend
27   this complaint to allege the true names and capacities when ascertained.
28   MCCORMACK TRUST, and DOES 1 through 10 are herein collectively referred to

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 1   as "Defendants."
 2         7.      Plaintiff is informed and believes, and thereon alleges, that Defendants
 3   and each of them herein were, at all times relevant to the action, the owners,
 4   franchisees, lessees, general partners, limited partners, agents, employees, employers,
 5   representing partners, subsidiaries, parent companies, successors, joint venturers
 6   and/or divisions of the remaining Defendants and were acting within the course and
 7   scope of that relationship. Plaintiff is further informed and believes, and thereon
 8   alleges, that each of the Defendants herein gave consent to, ratified, and/or authorized
 9   the acts alleged herein of each of the remaining Defendants.
10         8.      Plaintiff is an otherwise qualified individual with a disability as provided
11   in the Americans with Disabilities Act of 1990, 42 USC Section 12102, Part 5.5 of
12   the California Health & Safety Code and the California Unruh Civil Rights Act,
13   Sections 51, et seq. and 52, et seq., the California Disabled Persons Act, Sections 54,
14   et seq. , and other statutory measures which refer to the protection of the rights of
15   "physically disabled persons." Plaintiff visited the public accommodation owned and
16   operated by Defendants for the purpose of availing himself of the goods, services,
17   facilities, privileges, advantages, or accommodations operated and/or owned by
18   Defendants.
19         9.      Plaintiff is informed and believes and thereon alleges that the subject
20   facility has been newly constructed and/or underwent remodeling, repairs, or
21   alterations since 1971, and that Defendants have failed to comply with California
22   access standards which applied at the time of each such new construction and/or
23   alteration and/or has failed to make modifications to the subject facility as set forth
24   below which are readily achievable.
25         10.     Plaintiff has visited and intends to continue to visit this place of public
26   accommodation. Plaintiff has become aware of the inaccessibility of this place of
27   public accommodation and will continue in the future to visit this place of public
28   accommodation for the purposes of shopping and/or otherwise using and enjoying the

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 1   facility’s accommodations, and to evaluate the facility’s accessibility to individuals
 2   with disabilities or to determine if other forms of discrimination exist. Molski v.
 3   Price, 224 F.R.D. 479 (C.D. Cal. 2004). Plaintiff actively enforces his rights as a
 4   disabled person to ensure that places of public accommodation adhere to the law’s
 5   requirements of providing access to persons with disabilities, including persons who
 6   use wheelchairs. As such he has filed approximately 10 or more construction-related
 7   accessibility lawsuits during the past 12 months. The legislature had chosen to brand
 8   him as a “high frequency litigant” because of his lawful activities in enforcing his
 9   legal rights.
10                                             III.
11                                           FACTS
12          11.      Plaintiff has a mobility impairment and uses a wheelchair. Moreover,
13   Plaintiff has had a history of or has been classified as having a physical impairment,
14   as required by 42 USC Section 12102(2)(A) and Civil Code section 54. Plaintiff uses
15   marijuana legally. He was formerly a medical user with a medical authorization card.
16   Now that recreational use of marijuana is legal in California he no longer uses his
17   medical authorization card. He also purchases other retail products related to
18   marijuana use, among other things.
19          12.      On or about November 1, 2018, and continuing to the present, Plaintiff
20   was and has been denied full and equal access to the facilities owned and/or operated
21   by the Defendants because the property was inaccessible to members of the disabled
22   community who use wheelchairs for mobility. Said denial of full and equal access
23   occurred because of barriers which included, but were not limited to lack of
24   accessible parking space, as well as lack of signage for said space and an accessible
25   path of travel to the business entrance. Plaintiff was also denied full and equal access
26   because of discriminatory policies and practices regarding accommodating people
27   with disabilities.
28          13.      Plaintiff KAREL SPIKES lives in Spring Valley, California near The

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 1   Dispensary. On or about November 1, 2018, Plaintiff was invited by The Dispensary
 2   to the SUBJECT PROPERTY. He visited The Dispensary and decided to patronize
 3   it. The building had a sign which indicated it was a marijuana dispensary. Plaintiff
 4   drove to the SUBJECT PROPERTY but noticed there was no designated accessible
 5   handicapped parking on the site. Nor was there an access aisle. Nor was there any
 6   signs indicating that there was handicapped parking available. The ramp to the
 7   dispensary entrance was too steep, had no handrails or protection to prevent Plaintiff
 8   or other wheelchair users from falling off of the ramp. Plaintiff believes there may be
 9   other violations of disability access laws and will amend this complaint to state these
10   violations if learned during the course of this lawsuit. Nonetheless, Plaintiff was able
11   to enter the place of public accommodation with some difficulty.
12          14.   There are approximately 15 or more marked parking spaces serving the
13   facility.
14          15.   Because of his disability and a total lack of accessible features, Plaintiff
15   had difficulty parking, traveling to the facility entrance and returning to his car while
16   using the marked parking space.
17          16.   At all times stated herein, the existence of architectural barriers at
18   defendants’ place of public accommodation constituted “actual notice” to Plaintiff of
19   defendants’ intent not to comply with the Americans with Disabilities Act of 1990
20   either then, now or in the future. Removal of these barriers is readily achievable
21          17.    As of the date of this filing Defendants have refused to remedy the
22   unlawful barriers to access. As a result of Defendants' failure to remove architectural
23   barriers, Plaintiff suffered legally cognizable injury including, but not limited to,
24   difficulty, discomfort or embarrassment in accessing Defendants’ place of public
25   accommodation. Removal of these architectural barriers is readily achieable.
26          18.   The wrongful conduct of Defendants, unless and until enjoined by order
27   of this Court, will cause great and irreparable injury to Plaintiff in that Defendants'
28   failure to provide full and equal access to individuals with disabilities, including

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 1   Plaintiff, denies Plaintiff access to and use of the subject facility in violation of the
 2   ADA Accessibility Guidelines and/or California's Title 24 Building Code
 3   requirements, and/or other applicable Codes, statutes and/or regulations.
 4          19.     Plaintiff alleges that Defendants will continue to operate a public
 5   accommodation which is inaccessible to him and to other individuals with
 6   disabilities. Pursuant to 42 USC §12188(a), Defendants are required to remove
 7   architectural barriers to their existing facilities. Defendants are also required to
 8   modify any discriminatory policies, practices and procedures to avoid discriminating
 9   against people with disabilities, including Plaintiff.
10          20.     Plaintiff has no adequate remedy at law for the injuries currently being
11   suffered in that money damages will not adequately compensate him for the amount
12   of harm suffered as a result of exclusion from participation in the economic and social
13   life of this state.
14          21.     Plaintiff believes that architectural barriers, and discriminatory policies,
15   practices and procedures, precluding him full and equal access of the public
16   accommodation will continue to exist at his future visits, which will result in future
17   discrimination of Plaintiff, in violation of the Americans with Disabilities Act.
18   Plaintiff is currently being subjected to discrimination because Plaintiff cannot return
19   to or make use of the facilities, goods and/or services offered by Defendants to the
20   general public. Plaintiff seeks damages for each and every day that he was denied
21   access to the subject property or was deterred from attempting to attend the subject
22   place of public accommodation because of continuing barriers to full and equal
23   access.
24                                               IV.
25                            FIRST CLAIM FOR
                VIOLATION OF AMERICAN WITH DISABILITIES ACT
26                           42 USC §12101, et seq.
27          22.     Plaintiff re-alleges and incorporates by reference each and every
28   allegation contained in paragraphs 1 through 21, inclusive, as though set forth fully

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 1   herein.
 2         23.    Plaintiff was denied full and equal access to Defendants' goods, services,
 3   facilities, privileges, advantages, or accommodations within a public accommodation
 4   owned, leased and/or operated by Defendants, in violation of 42 USC Section
 5   12182(a). Plaintiff was, therefore, subjected to discrimination and is entitled to
 6   injunctive relief pursuant to 42 USC Section 12188 as a result of the actions or
 7   inaction of Defendants.
 8         24.    Among other remedies, Plaintiff seeks an injunctive order requiring
 9   compliance with state and federal access laws for all access violations which exist at
10   the property, requiring removal of architectural barriers and modification of policies,
11   practices and procedures, and other relief the Court may deem proper.
12         25.    Plaintiff also seeks any other order that will redress the discrimination
13   to which he has been subjected, is being subjected and/or will be subjected.
14                                             V.
15                       SECOND CAUSE OF ACTION FOR
                     VIOLATION OF CAL. CIV. CODE §§51 et seq.
16
           26.    Plaintiff re-alleges and incorporates by reference each and every
17
     allegation contained in paragraphs 1 through 25, inclusive, as though set forth fully
18
     herein.
19
           27.    Plaintiff was denied full and equal access to Defendants' goods, services,
20
     facilities, privileges, advantages, or accommodations within a public accommodation
21
     owned, leased and/or operated by Defendants, in violation of 42 USC Section
22
     12182(a). Plaintiff was, therefore, subjected to discrimination and is entitled to
23
     injunctive relief pursuant to California Civil Code sections 51, et seq. and damages
24
     pursuant to section 52, et seq., as a result of the actions or inaction of Defendants.
25
           28.    Among other remedies, Plaintiff seeks an injunctive order pursuant to
26
     Civil Code section 52 requiring compliance with state and federal access laws for all
27
     access violations which exist at the property, requiring removal of architectural
28
     barriers and modification of policies, practices and procedures, and other relief the
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 1   Court may deem proper.
 2         29.     The actions of Defendants were and are in violation of the Unruh Civil
 3   Rights Act, California Civil Code Sections 51 et seq. and therefore Plaintiff is entitled
 4   to injunctive relief remedying all such violations of California access laws and
 5   standards. In addition, he is entitled to damages under California Civil Code Section
 6   52 for each offense. The amount of damages suffered by Plaintiff is not yet
 7   determined. When the amount is ascertained, he will ask the Court for leave to
 8   amend this complaint to reflect this amount. Plaintiff is also entitled to attorneys' fees
 9   and costs.
10         30.     The actions of Defendants in violation of the Unruh Civil Rights Act and
11   California Civil Code Sections 51 et seq. were willful and with conscious, deliberate
12   or reckless disregard for the rights of disabled persons such as Plaintiff and therefore
13   Plaintiff is entitled to punitive and exemplary damages or treble damages pursuant to
14   California Civil Code Sections 52, 54.3 and under common law principles.
15         31.     Plaintiff also seeks any other order that will redress the discrimination
16   to which he has been subjected, is being subjected and/or will be subjected except
17   that Plaintiff specifically does not request relief pursuant to Civil Code section 55.
18                                              VI.
19                        THIRD CAUSE OF ACTION FOR
                  VIOLATION OF CALIFORNIA CIVIL CODE §54 et seq.
20
           32.     Plaintiff re-alleges and incorporates by reference each and every
21
     allegation contained in paragraphs 1 through 31, inclusive, as though set forth fully
22
     herein.
23
           33.     Based on the facts plead hereinabove and elsewhere in this complaint,
24
     Defendants did, and continue to, discriminate against Plaintiff and persons similarly
25
     situated by denying disabled persons full and equal access to and enjoyment of the
26
     subject facility and of Defendants' goods, services, facilities, privileges, advantages
27
     or accommodations within a public accommodation, in violation of California Civil
28
     Code Section 54, et seq.
                                                                               Civil Complaint
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 1          34.    Defendants' actions constitute a violation of Plaintiff's rights under
 2   California Civil Code Section 54, et seq., and therefore he is entitled to injunctive
 3   relief remedying all such violations of California access laws and standards. In
 4   addition, he is entitled to damages under California Civil Code Section 54.3 for each
 5   offense. The amount of damages suffered by Plaintiff is not yet determined. When
 6   the amount is ascertained, he will ask the Court for leave to amend this complaint to
 7   reflect this amount. Plaintiff is also entitled to attorneys' fees and costs.
 8          35.    Plaintiff seeks all of the relief available to him under Civil Code Sections
 9   51, 52, et seq., 54, 54.1, 54.2, 54.3, and any other Civil Code Sections which provide
10   relief for the discrimination suffered by Plaintiff, including damages and attorneys
11   fees, except that Plaintiff specifically does not seek relief under Civil Code section
12   55.
13                                              VII.
14                          FOURTH CAUSE OF ACTION FOR
                             VIOLATION OF HEALTH AND
15                           SAFETY CODE §19955, ET SEQ.
16          36.    Plaintiff re-alleges and incorporates by reference each and every
17   allegation contained in paragraphs 1 through 35, inclusive, as though set forth fully
18   herein.
19          37.    Defendants' facilities are public accommodations within the meaning of
20   Health and Safety Code Sections 19955, et seq., and Plaintiff is informed and believes
21   and thereon alleges that Defendants have newly built or altered the subject property
22   and/or the subject facility since 1971 within the meaning of California Health and
23   Safety Code Section 19959. The aforementioned acts and omissions of Defendants
24   constitute a denial of equal access to the use and enjoyment of the Defendants'
25   facilities by people with disabilities.
26          38.    Defendants' failure to fulfill their duties to provide full and equal access
27   to their facilities by people with disabilities has caused Plaintiff to suffer deprivation
28   of his civil rights, as well as other injuries.

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 1         39.     As a result of Defendants' violations of Health and Safety Code Sections
 2   19955, et seq., described herein, Plaintiff is entitled to injunctive relief pursuant to
 3   Health and Safety Code Sections 19953, and to reasonable attorney's fees and costs
 4   except that Plaintiff specifically does not request relief pursuant to Civil Code section
 5   55.
 6                                             VIII.
 7               FIFTH CAUSE OF ACTION FOR NEGLIGENCE PER SE
 8         40.     Plaintiff re-alleges and incorporates by reference each and every
 9   allegation contained in paragraphs 1 through 39, inclusive, as though set forth fully
10   herein.
11         41.     At all times relevant hereto, there was in effect the Americans with
12   Disabilities Act, California Civil Code Sections 51, et seq., California Civil Code
13   Sections 54, et seq., and California Health and Safety Code Sections 19955, et seq.,
14   all of which require that public accommodations and facilities provide services to
15   people with disabilities which are equal to, and are not inferior to, the services
16   provided to patrons who are not physically disabled.
17         42.     Defendants owed Plaintiff a mandatory statutory duty to provide him full
18   and equal access to accommodations, advantages, facilities, privileges and services
19   of all business establishments. Plaintiff is a member of the class which these statutes
20   are designed to protect.
21         43.     Defendants' acts or omissions alleged herein are a violation of statutory
22   requirements including, but not limited to, the Americans with Disabilities Act,
23   California Civil Code Sections 51, et seq., California Civil Code Sections 54, et seq.,
24   and California Health and Safety Code Sections 19955, et seq., and public policy, and
25   therefore constitute negligence per se.
26         44.     As a proximate result of the action or inaction of Defendants and each
27   of them, Plaintiff suffered the harm these statutes are designed to prevent, to wit,
28   exclusion from and/or unequal access to goods, services and facilities provided by
     Defendants to the general public, as well as other injuries.
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 1         45.    Plaintiff seeks special and general damages and statutory damages
 2   according to proof, as described more fully hereinabove.
 3                                             IX.
 4                  SIXTH CAUSE OF ACTION FOR NEGLIGENCE
 5         46.    Plaintiff re-alleges and incorporates by reference each and every
 6   allegation contained in paragraphs 1 through 45, inclusive, as though set forth fully
 7   herein.
 8         47.    Defendants had a duty to exercise ordinary care, as set forth more
 9   specifically above.
10         48.    Defendants failed to exercise ordinary care, as set forth more specifically
11   above.
12         49.    As an actual and proximate result of Defendants' failure to exercise
13   ordinary care, Plaintiff suffered general and special damages, as described more fully
14   hereinabove.
15                                             X.
16         SEVENTH CAUSE OF ACTION FOR DECLARATORY RELIEF
17         50.    Plaintiff re-alleges and incorporates by reference each and every
18   allegation contained in paragraphs 1 through 49, inclusive, as though set forth fully
19   herein.
20         51.    An actual controversy now exists in that Plaintiff is informed and
21   believes and thereon alleges that Defendants' premises are in violation of the disabled
22   access laws of the State of California including, but not limited to, Civil Code
23   Sections 51, et seq., Sections 52, et seq., Sections 54, et seq., Health and Safety Code
24   Sections 19955, et seq., Government Code Sections 4450, et seq. and 7250, et seq.,
25   Title 24 of the California Code of Regulations, and/or Title III of the Americans with
26   Disabilities Act and Accessibility Regulations.
27         52.    A declaratory judgment is necessary and appropriate at this time so that
28   each of the parties may know their respective rights and duties and act accordingly.
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 1
 2                                             XI.
 3              EIGHTH CAUSE OF ACTION FOR INJUNCTIVE RELIEF
 4         53.    Plaintiff re-alleges and incorporates by reference each and every
 5   allegation contained in paragraphs 1 through 52 inclusive, as though set forth fully
 6   herein.
 7         54.    Plaintiff will suffer irreparable harm unless Defendants are ordered to
 8   remove architectural barriers at Defendants' public accommodation, and/or to modify
 9   their policies, practices and procedures regarding accommodating of people with
10   disabilities. Plaintiff has no adequate remedy at law to redress the discriminatory
11   conduct of Defendants. Plaintiff seeks an order enjoining violation of his rights to
12   access pursuant to California Civil Code section 52 and any other law which provides
13   for injunctive relief to remedy the discrimination except that Plaintiff specifically
14   does not seek any remedy by way of this Complaint for relief pursuant to California
15   Civil Code section 55.
16         55.    Plaintiff seeks injunctive relief to redress his injuries.
17                                            XII.
18                                     JURY DEMAND
19         56.    Plaintiff hereby requests a jury trial.
20                                         PRAYER
21         WHEREFORE, Plaintiff prays for judgment against the Defendants, J. K.
22   MCCORMACK, aka JAMES KENYON MCCORMACK, aka KEN MCCORMACK
23   and PATRICIA A. MCCORMACK, Trustees of the J. K. and P. A. MCCORMACK
24   FAMILY TRUST, and DOES 1 through 10, as follows:
25         1.     An order enjoining Defendants from violating disabled access laws of
26                the United States of America and the State of California;
27         2.     That the Court declare the respective rights and duties of Plaintiff and
28                Defendants as to the removal of architectural barriers at Defendants'
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 1               public accommodation and/or as to the modification of discriminatory
 2               policies, practices and procedures;
 3         3.    An order awarding Plaintiff actual, special and/or statutory damages for
 4               violation of his civil rights and for restitution including, but not limited
 5               to, $4,000 in damages for each and every offense in violation of
 6               Plaintiff’s right to be free from discrimination pursuant to the applicable
 7               Civil Code Sections including, but not limited to, Sections 52 and /or
 8               $1,000 in damages pursuant to Section 54.3 for each and every offense
 9               of Civil Code Sections 51 and 54, respectively, and to include damages
10               for each occasion for which Plaintiff was deterred from accessing the
11               subject facility;
12         4.    An award of compensatory damages according to proof;
13         5.    An award of punitive and exemplary damages according to proof;
14         6.    An award of up to three times the amount of actual damages pursuant to
15               the Unruh Civil Rights Act and the Disabled Persons Act; and
16         7.    An order awarding Plaintiff reasonable attorneys' fees and costs;
17         8.    Such other and further relief as the Court deems proper.
18
     DATED: November 8, 2018                VANDEVELD LAW OFFICES
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20
21                                          s/Thomas J. Vandeveld III
                                            THOMAS J. VANDEVELD, III
22                                          Electronic Mail: tomvlawyer@cox.net
                                            Attorney for Plaintiff KAREL SPIKES
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27
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                                                                             Civil Complaint
                                              14                            and Jury Demand
